                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 UNITED STATES OF AMERICA,                        )
                                                  )
         Plaintiff,                               )
                                                  )
 v.                                               )    NO. 3:21-cr-00264
                                                  )
 BRIAN KELSEY                                     )
 JOSHUA SMITH                                     )
                                                  )
         Defendant.                               )


                                            ORDER

        The sentencings set for March 28, 2023 are cancelled. The Government’s Motion to

Continue Sentencing Hearings and For Additional Time to Respond to Motion (Doc. No. 94) and

Defendant Joshua Smith’s Motion Date for Sentencing (Doc. No. 95) are GRANTED.

        The Government shall file a response on or before April 14, 2023 to Defendant Brian

Kelsey’s Motion to Withdraw Plea of Guilty and File Motion to Dismiss (Doc. No. 93). Brian

Kelsey may file a reply on or before April 21, 2023.

        The Government and Brian Kelsey shall provide five agreed dates for an evidentiary

hearing and a list of anticipated witnesses on or before April 21, 2023.

        IT IS SO ORDERED.



                                             ____________________________________
                                             WAVERLY D. CRENSHAW, JR.
                                             CHIEF UNITED STATES DISTRICT JUDGE




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